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                            EXHIBIT 2




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June 14, 20 11

Federal Trade Commission
Office of the Secretary
R oom H- 11 3 (Annex X)
600 Pennsylvani a Avenue
Washington, DC 20580

Re: Patent Standards W orkshop. Project No. P 11- 1204


Dear Commissioners and FTC executive staff:


        Microsoft appreciates the opportunity to provide comments in response to the Request for
Comments and Announcement of Workshop o n Stan dards-Setting Issues regarding -patent hold-
up" in connection with standardizati o n efforts.

        At their most fundamental , technical standard s are tools that promote efficiency and
innovation by ma king it easier to create products and services that work togethcr---or
-ffiteroperate" -better. This is especially true in the infonnation and comm unications
technol ogy (leT) environment. With new leT soluti ons and services appearing in th e market
almost dail y, often connected to one another by the Intern et or other networks, interoperability
has become a market im perative. The develo pm ent and implementation of standards is one of
the ways in which the technology industry is able to meet consumer dem and for interoperability .1
By helping to enhance interoperability among products or services within a market, and being
responsive to real marketplace needs, standards can help pro mote innovation, fue l market
growth, and protect investments in new technologies.

        Microsoft plays a dual role in standardization activities . First, we actively contribute
innovative technology to standardizati on related to computing hardware, software and associated
devices, the Internet and its infrastructure, consumer electronics devices, and
telecommuni cations systems. Second, we are an active implementer of standards. Microsoft
supports a very large number of standards that are fonnu lated by a broad diversity of standards-
setting organizations (SSOs) in our products. For exampl e, Microsoft's Windows 7 operati ng

\ Microsoft's commitment to standardization to help further interoperability is reflected in ou r
Intcropcrabil ity Principles, available at http:lh",,\·w.microsofi.com/intcropJprinciplcs/defaultmspx.
Additional mfonnation about Microsoft' s standards policies and activities can bc fo und at:
http ://wv....v.microsoft.com/stlU1dardsl .




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system supports more than sixty industry standards (by a conservative count). 2 Ultimatel y, both
of these roles are deepl y infonned by the market, and in particular by feedback on the way
customers use lCT products and services in their day-to-day lives.

       Because of this dual role as contributor and implementer, Microsoft takes a balanced
approach to standards development and related intellectual property rights (IPR) issues. We
understand the particular needs and concerns of th ose contributing time, resources, and
innovative technologies to the development of standards, but we are equal ly sensitive to the
needs of those who are implementing the resulting standards in their products and services.
Patents are of particular concern to Microsoft because Microsoft is perhaps the No. I target of
patent infringement actions in the lCT industry (given the breadth of its product portfolio and
large revenue). Our involvement on both si des of the standards fence frame s our perspective that
a diverse standards ecosystem that supports multiple technologies is good fo r the U.S. and global
economies.

       Our comments in response to the RFC can be summarized as follows :

           •     Microsoft strongly supports President Obama's focus on technology and the
                 promotion of innovation. In looking at issues relating to the inclusion of IPR
                 (primarily patent rights) in standards, it is critical to preserve and cultivate
                 incentives to innovate. In addition, the United States should promote respect for
                 the value of IPR on a global basis, including the rPR refl ected in standard s.

           •     Government should take an inclusive view ofSSOs ' diverse IPR policies and not
                 promote one approach over the other.

             •   Concerns about -patent hold-up" should not extend to any bi-Iateral business
                 disagreement between two companies regarding proposed licensing term s. These
                 discussions typically pertain to a broader set of questions than just the proposed
                 licensing terms for essential patent claim s reading on a standard. In addition, if


2 A typical personal computer running Windows 7 wi ll support more than 200 additional standards,
facilitating compatibi lity among hardware components from various vendors and promoting
intcroper.lbility between pes and other computers. These standards were developed by a broad range of
SSOs with divcrse processes and IPR policy approachcs (including those that seek commitmcnts to offer
patenllieenses on reasonable and non-discriminatory terms and conditions, whether with compensation or
on a royalty-frec basis).


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            the Government were to attempt to quasi-regulate RAND licensing terms, then
            they arguab ly should review the inter-play among all of the substantive terms (and
            not just the monetary component) for all aspects of patent licensing terms . Yet
            that would likely be unworkable.

        •   Disclosure-based lPR policies help provide useful information as to which patent
            holders likely will have essential patent claims vis-a-vis the fina l standard, which
            enables parties to make an informed decision wheth er to engage in patent
            licensi ng negotiations and the scope of such discussions .

                o   However, it is not possible for an ssa technical committee to have full
                    and complete infonnation regarding the patent rights implicated by a draft
                    standard, especiall y those rights held by non-participants in the process.
                    IPR policies ideally should take a balanced approach that does not unduly
                    burden patent holders and encourages them to participate and contribute
                    innovative technology.

        •   RAND-based lPR policies provide a flexible framework to help enab le
            customized bi-Iateral negotiations for patent licenses that generally are not limited
            to just the essential patent claims in connection with a standard .

        •   While almost all of the leT industry stakeholders support policies that permit the
            voluntary and unilateral --£ ante" disclosure of specific li censing terms by a
            patent holder, proposals for the U.S . Government to promote a mandatory -ex
            ante" IPR policy approach or promote the group di scussion of proffered licensing
            terms are not widely supported because such an approach is viewed as:

                o   being of little value,

                o   creati ng many practical inefficiencies and possible legal challenges, and

                o   something that could be used internationally to undermine the value of
                    patented technology that is included in standards used in other countries.




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In looking at issll e.~ relating to the inclusion of intellectual property in standards. it is
critical to ensure that incentives to innovate are preserved .

         We strongl y support President Obama and his AdminislTation ' s focus on technology
and the promotion of innovation. Innovation historically has been a catalyst for econom ic
growth and the creation of jobs. T he Uni ted States, in recognizing the need to preselVe
incen tives for innovati on through a heal thy patent system and marketpl ace com petiti on, has been
and remains a global technology leader. It is th erefore important to ensure that the treatment of
patented technology in standards does not undermine incentives to continue to invest in new
innovation in standardi zed technology areas.

        As the Antitrust Di vision of the U.S. Department of Justice has obselVed :

        4he goal of poli cies involvi ng IF, li censing, and standards should be to
        promote efficiency, just as it is with antitrust policy .... Static efficiency
        occurs when firms compete within an existing technology to streamline their
        methods, cut costs, and dri ve the price of a product embodying that
        technology down to somethi ng cl ose to the cost of uni t production. Static
        effi ciency is a powerful force for increasing consumer welfare, but an
        even greater drive r of consumer welfare is dynamic effici ency, which
        results from entirely new ways of doing business. Economists now
        recognize that the gains from dynamic efficiency, also called " leapfrog"
        competition, can far outstrip the gains from incremental static
        improvem e nts. It foll ows that policymakers should pay particular attention
        to the impact of laws and enforcement decisions on dynamic effieiency.,,3
        (Emphasis added.)

        In developi ng policy posi ti ons relating to slandards, governmen ts should pay special
attention to the importance of promoting the dynamic efficiencies lhal ari se from preserving
incentives for innovation. Through balanced IPR policies that help make innovative technology
available to implementcrs on reasonable tenns, and that do not undercut the value of patented

l See Gerald F. Masoudi , Deputy Assistant Attorney Gen., Antitrust Di v., U.S. Oep ' t of Justice, Address
at the High -Levcl Workshop on Standardization, 1P Licensing, and Antitrust, Tilburg Law & Economic
Centcr, Tilburg University: Effi cicncy in Analysis of Antitrust, Stand3rd Setting, and Intellectual Property
2- 3 (Jan . 18, 2007), available al http://www.jll!'ticc.gov/atr/publ icJspccchcs/220972.pdf.



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technology or overly burden patent holders, standards can help to catal yze innovation by
encouraging companies to contribute thei r innovative technology to coll aborative standards-
setting activities and to share thei r intellectual property with others via the :itandardi zati on
process. Standards wi ll not fu lfi ll their salutary purposes if standards poli cies deter innovators
from contributing patented technologies or investing in further innovation related to standardi zed
technology .

        In addition, th e United States Governm ent should continue to advocate for the fai r
treatment of patented technology in standards on a global basis .

Governmeni shollid take an inclusive view towards SSOs' diverse IPR policies and not
promote one ap proach over another.

        Most SSOs have an IPR (or patent) poli cy that seeks to balance the rights and interests of
thei r stakeholders by seeki ng commitments from participating patent holders that they wi ll offer
patent licenses for their essential patent claims on reasonable and non-<ii scriminatory (RAND)
terms and condi tions. Currently there is signifi cant di versity with regard to how, and the detail
with wh ich, these policies are articulated by vari ous SSOs. Thi s diversity is healthy and should
be encouraged, and any articulation by the governm ent of one or more preferred approaches
should be avoided . This diversity and breadth of SSOs has emerged as a result of market forces
in response to varying busi ness needs, and provides for flexibility, competition and choice. No
one SSO or standardization process necessarily produces -wer" standard s; the test of success
and relevance ofa standard is the extent to which it ultimately gets used in the marketplace. Th is
view is wi del y supported by th e ICT industry .4

        The FTC shoul d encourage SSOs to ensure that th eir IPR policies are clearl y worded.
publi cly available, and easy to find . Although many SSOs make their IPR policies easily
available to the public on thei r websites. others make them diffi cult to find or avai lab le only to
their members. In addition, we support FTC efl'oI1S to encourage SSOs to make any patent

4 S'ee. e.g., Comments submitted by the Infonnation Technology Industry Council in response to a reccnt
NIST Rcqucst for lnfonnation (-+T1 encourages the US Government to embrace a variety of lCT
standards and standards-setting processes, and avoid policy decisions that might discourage a broad
diversi ty of approaches to le T standardizati on. Thi s diversity provides for choice, competition and
fl exibility that further enable the rCT sector to respond to a rapidly changing marketplace with new,
innovative solutions.") OHtp:lIstandards.gov/standards gov!mastcrcommenls030711.cfm) .




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declarations, letters of assurance, or other licensing infonnatio n they receive fro m patent holders
easily available to the public on their websites. The infonnation contained in rPR poli cies, and,
if applicable, patent declarations, letters of assurance, or other li censi ng information is important
to all stakeholders in the leT industry, including current and potential SSO participants and
standards implementers.

T he co ncept of "patent hold-lip" s hould ma l) to ma rket pl ace rea lities.

       The notion that -patent hold-up" is a substantial problem that shoul d be addressed by
governm ent action seems to stem from a largely theoretical analysis of the situation. If a patent
holder can charge im plementers more than a reasonab le royalty because those implementers are
(perhaps) -fficked into" the stan dard, then is it nOllikely that it would take advantage of this
opportunity?

        We believe that this reasoni ng greatly over-simplifies-and obscures- the reali ties of
standards-related palen t li censing. How any indiv idual company wi ll approach paten t licensing
will depend on many factors, such as:

            •   What is the com pa ny' s primary business model im pl icated by the relevant
                standard? Is it li kely that the company wi ll proactively seek patent licenses
                (either as a licensor, a li censee or both)?
            •   Who are the likely companies hol ding essential patent claims, and what are their
                busi ness models, products and patent portfolios?
            •   What licensing or other agreements arc already in place between the parti es?
            •   Ifthe parties decide to enter into an agreement, then what are all of the issues
                (i ncl udi ng all of the IPR-related issues) that li kely wi ll be negotiated?
            •   Are there trade-ofTs that may be made with regard to royalty payment s or other
                fina ncial tenll s?
                    o   For example, there are companies who sometim es are will ing to offer their
                        essential patent cl ai ms to a particular standard free of charge, but they also
                        include a defensive suspension clause that causes the free license in
                        connection with these patent claims to terminate if the licensee
                        commences litigati on against the licensor on any grounds whatsoever.



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       As a result, we respectfully suggest that a simpl ified and theoretical approach to defining
-patent hold-up" may not sufficiently map to complex marketplace real ities. It may pull in what
are essentiall y routine business negotiations between two parties. These negotiations almost
always include considerations beyond the proposed licensing terms for just the essential claims
in a standard (and just the royalty element of any such terms) . Many companies question
whether these types of business negotiations shou ld be labeled as - rant hold-up" and
scrutinized by regu lators. We believe that there is an important difference between intentional or
deceptive conduct in connection with patents that read on standards and routine bilateral
disagreements over licensing terms for the use of patented technology.

        In the former context, there seems to be a dearth of examples of actual patent hold-up
with regard to the essential patent claims reading on a standard. Microsoft has never been
accused of patent hold-up in this regard , nor has it accused any other company of such behavior.
This is not to say that Microsofl. has never been a party to litigation where the parties di sagree
whether proffered licensing terms were consistent with the relevant patent li censi ng commitment
(such as RAND). When companies have such bilateral disagreements, it may make sense for
them to seek resolution in the courts. Bul such litigation is rarely limited 10 the proposed
licensing terms for just the essential claims reading on a standard: typicall y such litigation is
addressing other patent-related issues or even other business terms that the parties have been
unab le to reach agreement on.

        Depending on their appl icable business model, many com pani es largely use their patents
vis-a-vis standards defensively. Far from seeking to "hold up" implementers, these firms will
not seek patent royalties at all in the ordinary course ofbusiness. Rather, they will seek a patent
license from an implementer only when that implementer has first challenged them on other
patent infringement issues.

        In addition, it is important to consider the healthy competition among different business
models and how that influences debates regarding ~atent hold-up" and whether there is a need
to impose furthe r restrictions on patent holders. Some compani es are largely innovators who
predictably will seek a return on their investments in innovation through licensing their patents.
Some product-based companies take a more nuanced position, often using their patents vis-a-vis
standards defensively (as described above). Still others have a signifi cant consulting or



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integration services focus, and they may benefi t from having access to others' innovative
technology in standards at a reduced cost if not fo r free. The current RAND-based structure
balances these different interests. Proponents seeking to tilt that balance may largely be seeking
reduced licensing costs and a related competitive advantage as opposed to solving a documented
and widespread prob l em .~

Disclosure-based IPR policies provid e useful inform ation r egard in g likely holders of
essential pa tent cla im s.

          There are hundreds of different SSO IPR poli cies and they vary sign ificantly. As a
general matter, the IPR policies ormost ronnal SSOs and many consortia are -disclosure-based".
Under these types of LPR policies, participating companies generally are required (or
encouraged) to disclose either (a) patents they hold that are likely to contain patent clai ms that
wi ll be essential to implementi ng the fi nal standard, or (b) the fact that they likely hold such
patents (but without identifying specific patents). The disclosing participant is then typicall y
requested to declare its intention with regard to licensing such essential claims (such as RAND,
R.A1\TD without a royalty, or -wi ll not agree to offer RAND licenses"). If specific patents were


S Sec remarks by Keith Mallinson (a long-standing research analyst and consultant in the telecommunications
industry) at htl p:!liplil1<1ncc.hlogsJXll .coml20 II /05/flllits-of-lahollf-nol -windrall -ga in<;-i n.111 011 : -R.egu latory price-
selling in the aren.1 or innovative tcchnologies neither reflects the market reality or commercial negotiation nor is it
related to the costs, cfforts and tcchnical or commercial risks involved in developing t1.,sc technologies. Defining
(F)RAND [fair, reaso nable and non-discriminatoryj according to an imposed pricing structure would severely limit
the ability of licensors and licensees to negotiate bilateral cOIlllnereial terms that reflect thei r respective positions
and needs...
Further. minimizing the cost orIicenscd tec hnologies may not result in a minimum cost solution. In addition to
providing higher perfOrmaJlce and improved features. incorporating patentcd IP into a standard IllJ)· actually reduce
the cost of implementing the standard. For ex..1mple, patented IP might reduce the total eost of ownership to the end
consumer or a product such as a mobile phone - including phone acquisition COSIS (wilh costs of design..
development. bili or materials and assembly) and network service charges (refl ecting costs or bandwidth acquisitiOlt
network equipment operations. and maintenance). The impact or such eosl reductions may far exceed any additional
eosts in licensing fecs . Markct fort""Cs are best al detennining thc val ue 10 be atuibuted to any input component in
such a system.. includi ng technology licences. Rcgulato~ slould be carcrullo avoid ruvouring particular business
models or making decisions on which part of Ihe value chain desclVcs to ilUlkc the greatcr profit. especiall y where
dynamic innovation is concerned ..
The priociple or (F)RAND licensing has been broadly adopted 10 ensure tlial palent owners who contribule
technology to standards agree to make licences availablc to their standards-csscntiaJ IP to all eome~ on terms that
are reasonable and rrcc from unfair discrimination, while maintaining the ability to lIchieve adcqmlle reward for their
innovations. Tt(:rc will at times be significant contention between the patent owner and implcmemer about what
constitutes reasonable licensing tenus. but this is to be expected as with commercial negotiation on any input cost
component and has. ror the most part, becn readily resolved through bilateral negoliations. In thc rare instances
where such negotiations have no t been successrul. contmctlaw is applicable 10 the (F)RAND commitment and the
courts arc ablc 10 dcal with such disputcs .. ..




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disclosed, then the li censing com mitment will apply onl y to any claims in the identifi ed patents
that end up being essential vis-it-vis the fina l version of the standard. In the case of a patent
holder disclosing more generall y that it likely will have essential claims, the licensing
commi tment generally will apply to any and all essential claim s the patent holder has vis-a.-vis
the final standard.

        A large number of SSOs, including ISO/ IEC/lTU, CEN/CENELEC, ETSI, AFNO R,
Ecma International, OMG (Object Management Group), PWG (Printer Working Group), TTA
(Telecommunications Technology Association of Korea), TTC (Telecommunication Technology
Comminee in Japan) and ANS I-accredi ted SSOs (such as the IEEE, TlA, ATIS and ASTM),
have some form of di sclosure-based TPR poli cy.

        Some SSOs have adopted """fl"arti cipation-based" TPR policies . Under this type of IPR
poli cy, a participati ng company undertakes a RAND (with or wi thout a royalty) licensing
commitment fo r any essential claims it may have vis-it-vis the final standard just by joining the
SSO or by joining a technical committee of the SSO. Standardization efforts under a
participation-based WR poli cy typicall y are scoped very narrowly. They also often include
safeguards for participants to opt out or exclude certai n essential claim s by disclosing the patents
containing those essential claims and stating that the automatic commitment wi ll not apply to
them . This provides some protection to participating patent holders in the event a competitor
contributes their technology to the standardization effort, either inadvertently or in an effort to
obtain access to such technology under the rel evant LPR policy framework.

        With 4'articipation -bascd" IPR policies, sometimes the automatic com mitm ents are
RAND-RF (free of charge but with other RAND terms), as was the case with the popular USB
standard and the W3C standards. Some examples ofSSOs that use a participation-based
approach are Bluetooth SIG, GS1 , BIAN (Banking Industry Architecture Network), OVB,
lnfiniband Association, MIPI All iance, SO Card Association, Serial AT A International
Organizati on, SIGlS, WiFi All iance, WiMAX Forum and the W3C .

        Typi call y, because SSOs want to encoura$e disclosures as early as possible duri ng the
development of a standard, disclosure is not limited to just known essential claims because those
claim s can only be accurately identifi ed when the standard is almost fi nal and the draft text is
stabl e. So there often is a trade-off in terms of getting more information carlyon in the process



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(recognizing that some portion of it likely wi ll end up not being relevant), as opposed to having
most (if not all) of the disclosed information be accurate and directly applicable to the fina l
standard.

         In some ways, the value of a disclosure-based policy is finding out which patent holders
likely will have essential patent claims vis-a.-vis the final standard. Companies then typically
consi der that information in the context of its affected produCl(s) and make decisions, including
whether to approach any of those patent holders to discuss licensing terms. What they decide to
do depend s on a number of different factors, such as whether the parties have ex isting
agreements that may be appl icable, the patent portfolio positioni ng between the parties (which is
not a consideration based on just the total num ber of patents but more likely focused on whether
they have patents that read on the other' s products, and which products), the companies '
appl icable business models (which may suggest whether or not the patent holder will proactively
seek a license from implementcrs) and past experiences with each other. In addition , these
considerations will of necessity include patents that go beyond just the essential patent claim s
relating to a standard . If an implementer is goi ng to enter into a license agreement with the
disclosing patent holder, such implementer will want to protect its entire product(s) and will need
to consider a broader (and perhaps cross-) licensing arrangement.

         The RFC also seeks feed back with regard to the fact that most disclosure-based pol icies
do not require participating patent holders to conduct patent searches, nor do they bind non-
participants.

         As a practical matter, a requirement to conduct patent searches would be a strong
disincentive fo r patent holders to participate in standards-setting activities and contribute their
technology so that it can be used by others. Many U.S.-based filllls have hundreds ofempJoyees
parti ci pating in hundreds of different SSO engagements, and thousands of patents in their
portfolios. The cost and resources needed to conduct multiple patent searches vis-a-vis a
developing standard spread across a sign ificant number of standards engagements would be very
significant.6


6 Asscssing whether a single patent reads 011 a particular version of a dr<lft standard could cost tens of thousands of
dollars. If patent searehes were required in order for patent holders to make definitive disclosures, then there would
be a need to conduct several such searches in connection with a single draft standard as it evolves. Multiply that by
hundreds of polential standards and the ongoing costs becomes prohibitive.



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        This is why the ICT industry sought clarification from the FTC in connection with the
Dell consent decree? The FTC clarified that the consent decree was not intended to support a
--eiscl ose it or lose it" approach to patent disclosures in the standards context and that Dell ' s
fai lure to disclose was --(It inadvertent". Similarly, back in the early 1990's the European
Telecommunications Standards Institute (ET51) proposed an IPR policy pursuant to which a
patent holder' s failure to make timely and complete disclosures would result in arguably
compulsory licensing on ETSI-sanctioned tenns (which were perceived to pennit very low
royalties), Working with U.S.-based trade associations, the U.S. Government intervened and the
ETSI policy was modified to be more consistent with other disclosure-based SSO policies.

        It is difficult to envision how an SSO IPR policy would apply to non-participants. It is
estimated that there are at least 1,000 ICT SSOs around the world. Any absolute disclosure
policy would create a huge burden on leT companies to police al l of those developing standards,
conduct intenninablc patent searches, and make definitive disclosures or risk losing valuable
patent rights. When the Standardization Administration of China (SAC) released its draft
Interim Provisions 011 Formulation and Revision of Patent-related National Standards for public
comment on November 2, 2009, a number of U.S.-based trade associations provided comments
seeking clarification that the proposed LPR policy would only cover those patent holders who
were participating in the development of the relevant Chinese National Standard (and, for
example, not patent holders who may have made a licensi ng comm itment in connecti on with an
ISO/ lEC-related standard being modified during the Chinese standardization process).

        There rarely will be a complete and accurate portrait of the patents that contain essential
claims with rcgard to a particular draft standard. This is not surprising. Standards are often
lengthy technical documents. Many of the essential patents are not included as the result ofa
fonnal contribution or a technology -e.ake off' pursuant to which the technical committee makes
a deci sion among competing patented technologies. Engineers create a technical document th at,
not surpri singly, affects a range of patented technology. That said, there sti ll seems to be only
limited patent infringement litigation based solely on essential patent claims vis-a-vis a standard
where the essential patents were unknown to the participan ts at the time the participants selected
among competing proposals to include in the standard. And those cases, although very limited in


7 In re Dell COli/pUler Corp., 121 FTC. 616 (May 20, 19%).



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number, typicall y have involved allegations that the patent owner intentionally failed to disclose
its patents in violation of the applicable SSO CPR policy.

RAND licensing commitments provide a balanced and nexible approach to patent
licensing.

       RAND is a time-tested and effective approach to licensing commitments. Like other
-reasonableness" standards, it does not dictate specific licensing terms, but it does provide
flexibility across a diverse range of situations. As mentioned above, companies make decisions
about whether to initiate licensing discussions and, if so, what considerations beyond just the
essential claims vis-a-vis the fin al standard will be included. The negotiation associated with a
standards-related patent license typically is no different from any general patent li censing
discussion and will involve trade-offs on all of the terms and cond itions.

       While there is no exhaustive list of trad itional RAND licensing terms, in addition to a
possible compensation element, such lenns may include a field-of-use restriction, reciprocity,
non-sublicenseability, defensive suspension and other common patent licensing considerations_
Whether specific articulations of these types of terms are RA ND can be a matter of some debate.
For example, if a standard acquires market power (most don 't), a patent owner who requires
broad grant backs in the fonn of reciprocity or broad defensive tennination provisions in
exchange for its license of essential patent claims to implement such standard arguably may not
be offering a RAND license. With regard to defensive tennination, if the standard has market
power and if the -trigger" for suspension is much broader than the actual license grant, it is not
clear that the term is RAND . For example, if the defensive suspension is triggered by the
im pl ementer asserting any type of IPR again st the patent holder (or even any litigation claim on
any topic), then arguably the patent holder is receiving a free-of-charge cross-l icense to the
implementer's entire fPR portfolio in exchange for a license to just the paumt holder's essential
claims vis-a-vis a standard. As with other -reasonableness" tests, these and other questions can
be resolved through litigation in the relatively rare circumstances where business discussions fai l
(and the risks for each side inherent in such litigation of course inform the business discussions).

        Proposals to somehow reduce -RAND" to some uniform fonnula could undermine the
value of current practices and restrict some of the flexibility that helps to enable current licensing
practices and protect the defensive value of contributed patent technology. There are many



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ex isting patent li censes that include access (0 essential patent claims vis-a.-vis one or more
standards that reflect a customized solution between the two parties that takes into consideration
all of the licensing terms (and nmjust the financial component).

        In add ition, the existence of a RAND commitment to offer patent licenses should not
preclude a patent holder from seeking preliminary injunctive rel ief or commencing an action in
the International Trade Commission just because the patent holder has made a licensing
commitment to offer RAND-based licenses in connection with a standard . Whether such reliefis
available should be assessed under the current legal framework in the applicable jurisdiction,
which on.en is premised substantially on the specific facts and circum stances at issue. Any
uniform declaration that such relief would not be available if the patent holder has made a
commitment to offer a RAND license for its essential patent claims in connection with a standard
may reduce any incentives that implementers might have to engage in good faith negotiations
with the patent holder.

        With regard to the issue whether the licensing com mitment shou ld be binding on the
successor-in-interest of the implicated patent rights, we believe that there is a fairly broad
consensus that this outcome would be ideal. The issue is how to effectuate this in practice. Ifa
patent holder makes a specific patent disclosure to a SSO, then it should be able to track that
commitment and bind the tran sferee as part of the transfer agreement.

        This becomes more challenging when the patent holder has made a more general
licensing commitment that it will license any essential claims that it has (and when the patent
holder has made such general commitments to many SSOs). In order to bind a transferee, such
patent holder would have to conduct patent searches to determine what patent claims were
implicated by the commitment(s}. Many patent holders th at use their patents largely for
defensive purposes vis-ii-vis standards do not want to undertake this significant expen se. Thi s is
especially true when the patent holder has made a commitment to license on RAND terms on a
royalty-free (or compensation-free) basis. If such patent holders are required to conduct patent
searches to determine what they are giving away for free, then they may be less wi ll ing to agree
to a RAND-RF licensing comm itment. We believe that SSOs should seek to help address this
issue in their rPR policy, but it is not realisti c to expect that they alone can full y solve this issue.




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Proposals for the U.S. Government to promote a mandatorv " ex ante n JPR policy approach
are not supported by the broader leT industry because such an approach is viewed as (a)
being of little value. (b) creating many practical inefficiencies and pos sible legal challenges.
and eel something that could be used internationally to possibly undermin e the value of
patented technology that is included in standards.

       Almost all disclosure-based lPR policies address (a) the extent to whi ch patent holders
have to disclose whether they have any patent claims that likely will be essential to implement
the standard under development and/or (b) the choices such patent holders have with regard to
the licensi ng commitment they can make vis-a.-vis those claims (such as a commitment to license
under RAND terms and conditions).

       lf a patent holder makes a discl osure about its essen ti al patent clai ms, potenti al
implementers can decide when (or even whether) to contact the patent holder to obtain
information abou t actual license terms. Depending on when the patent holder makes such a
patent disclosure. this may occur ex ante (before the standard is finalized). Any negotiations
typically are conducted bi laterall y and outside the SSO.

       ""';"',x ante" IPR poli cies typically refers to those discl osure-based policies that either

permi t or require patent holders to disclose specific li censing term s, including royalty rates, to
the standards body before the standard is final ized. Whil e almost all leT industry stakeholders
(including Microsoft) support policies that perm it the voluntary and uni lateral -;e antc"
disclosure of specific licensing terms by a patent holder, there are differi ng views with regard to
proposed IPR poli cies that would mandate the -ex ante" disclosure of specific licensing terms
and/or permit group discussions of those tenns . Advocates of mandatory -ex ante" TPR poli cies
argue that this is necessary to prevent patent holders from -koldi ng up" im pl ementers and
extracting onerous terms after the standard is completed and everyone is attempting to
impl ement the standard as written. Opponents highlight that """"atent hold-up" occurs rarely
when viewed across thousands of leT standards, and such policies would unduly burden the
standardizati on process and create many unnecessary practical inefficiencies and potential legal
probl ems.




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          There are li terall y thousands of l eT standards in existence today. Hundreds of these
standards have been referenced in eGovemment Interoperability Fram eworks,~ with no apparent
documented problems relating to IPR issues.9 There have been a relatively small number of
noteworthy litigations that have been commenced when two parties have been unable to agree on
whether proffered licensing terms were RAND and/or otherwise met the requirements of the
appli cab le SSO's IPR policy. These are very much the excepti on, not the rul e. Most SSOs
review and regularly update their TPR policy to address broad issues, but they often are reluctant
to add substantial burdens to the process to address relatively rare, potential --ene-off' disputes
that are fact·specific and can be liti gated if the two parties cannot come to an agreement.

          The debate over mandatory -ex ante" IPR policies has been underway for more than a
decade. During this time, many lCT SSOs and their memb ers with disclosure·based IPR policy
approaches have thoughtfully considered whether to adopt such a policy , and with the exception
of the VITA standards body, th ey largely have rejected adopting such an approach. The
principle reasons typically include the fo llowi ng considerations :

      •     A mandatory -ex ante" IPR policy would require patent holders to disclose proposed
            li censi ng terms for their essential patent claims. Most stakeholders have observed that,
            for vari olls reasons, such a disclosure is ofli ttle practical value. When a patcnt holder
            discloses to a SSO that it likely hol ds essenti al patent claims, a prospective
            implementer makes a decision whether to approach this patent holder to discuss
            possible li censing terms (and that decision is dependent on a number of fac tors). Any
            impl ementer actually decidi ng to negoti ate a license will rarely, if ever, want a license
            fo r j ust the patent holder' s essenti al patent claims in connection with that standard. An
            implementer seeking a li cense likely will want to negotiate a bi·lateral , customi zed
            agreement that wi ll include other LPR (including related patent claims that it may be
            infringing) that impact its enti re product or at least those product features that relate to
            and uti lize the standard. The license also likely will refl ect a range of possible trdde·
            offs between the two parties based on their respective fPR portfolios and other business


8 See ~overnmcnt Interopcrabi lity: A comparative analysis of 30 countries" by CSTransfonn at
hup:l!www.cstransfonn.com!white papersllnteropAnalvsisV2.0.pdf.
9 The existence of competing standards also can help reduce the threat of possible patent -flold up".


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          opportuni ti es. So adding a requirement t D an SSO LPR policy to the effect that
          disclosing patent holders must prepare and submit licensing terms fo r just its essential
          patent claims creates an obligation and burden on patent holders that arb'11ably adds
          little or no value to the standardization process.

      •   Standards technical comm ittees make hundreds of technical decisions and, as has been
          much noted, the process is often lengthy. Experienced stakeholders have noted that
          injecti ng li censi ng terms into the standardi zati on process will inevi tably delay the
          process further still without im proving the technical value of the standard.

      •   Some patent holders make RAND licensing commitments largel y for defensive
          purposes to furthe r their own freedom of action. such as seeking to protect their
          products that implement standards from patent infringement claims asserted by others.
          As a result, qui le often they will not proactively seek to obtain li censes from
          implementers. It has been observed during stakeholder debates on the --ex an te" issue
          that requiring these patent holders to prepare patemli censing terms unnecessarily
          crcates burdens and complications for them without adding value to the standardi zation
          effort.

      •   There is little evidence that -patent hold-up" in the standards context is a real problem .
          Most patent holders also are implementers, whether with regard to the same standard or
          in terms of the broader reT standards landscape, and thus share an interest in
          maintai ning reasonable royalty rates. This ecosystem generates few IPR-related
          disputes as a result.

      •   Under a mandatory -ex ante" JPR policy, there is a substantial ri sk-even a
          likelihood-of buyer cartel or group boycott behavior. An SSO obviously is a forum
          for participants to discuss the development of technical standards. Those discussions
          are likely to extend to pri ce if price tenns are disclosed in connection wi th the offer of
          technology to a standard-setting effort. The technical com mittee members may
          explicitly or im pli citly pressu re a disclosing patent holder to modify its proposed
          licensing terms or risk not having its technology included in the standard. This is
          especially true if the IPR policy permits the group di scussion of proposed licensing
          Lerm s as part of the standardization process. For thi s reason, mandatory --ex ante" lPR


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          pol icy approaches also may discourage key patent holders from participating in the
          process and contributing their valuable patented technology. They also cou ld create
          disincentives to invest further in innovation in that technology area.

       Most of the SSOs and their stakeholders that have considered these proposals over the
years have determi ned that there are only a limited number of situations where ".atent hold-up"
takes place in the context ofstandards-setti ng. The industry has determined that those situations
generally are best add ressed through bi-Iateral negotiation (and, in rare cases, litigation) as
opposed to modifyi ng the SSO' s rPR policy and arguab ly unnecessari ly burdeni ng the
standardizati on process for the many l eT standards that are bei ng widely implemented in the
marketplace with no apparent rPR-related chall enges.

        Accordingly. we support the majority of ICT companies who believe that SSOs should
develop thei r IPR pol icies based on a consensus of thei r stakeholders, and that governments
should not promote one approach over another, including a mandatory -ex ante" lPR pol icy
regime and the group discllssion of proposed licensing terms.

        In conclusion, we thank you for the opportunity to provi de comments in response to the
RFC.

        Respectfully subm itted,
        Microsoft Corporation
                             /   .


        David Hei ner
        Vice President and Deputy General Counsel
                                                   /




        Amy M arasco
        General Manager, Standards Strategy and Pol icy




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 1                       IN THE UNITED STATES DISTRICT COURT
 2                      FOR THE WESTERN DISTRICT OF WASHINGTON
 3                                        AT SEATTLE
 4

 5     MICROSOFT CORPORATION, a
 6     Washington corporation,
 7                 Plaintiff,
 8     vs.         No. C10-1823-JLR
 9     MOTOROLA, INC., MOTOROLA
10     MOBILITY, INC., and GENERAL
11     INSTRUMENT CORPORATION,
12                 Defendants.
13     ___________________________
14

15                          DEPOSITION OF DAVID A. HEINER
16                      Taken on behalf of the Defendants
17                                   March 28, 2012
18                                         - - -
19     BE IT REMEMBERED THAT, pursuant to the Washington Rules of
20     Civil Procedure, the deposition of DAVID A. HEINER, was
21     taken before Tia B. Reidt, #2798, a Certified Shorthand
22     Reporter, and a Notary Public for the State of Washington,
23     on March 28, 2012, commencing at the hour of 8:48 a.m., the
24     proceedings being reported at 315 5th Avenue South,
25     Suite 1000, Seattle, Washington. TSG Job # 47848.


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 1                   APPEARANCES           1                      Appearing on behalf of the Defendant
 2                                         2                      LYNN ENGEL
 3   Appearing on behalf of the Plaintiff  3                      SUMMIT LAW GROUP
 4   ARTHUR W. HARRIGAN, JR.               4                      315 Fifth Avenue South
 5   DANIELSON HARRIGAN LEYH & TOLLEFSON 5                        Seattle, WA 98104
 6   999 3rd Avenue                        6
 7   Seattle, WA 98104                     7
 8                                         8
 9                                         9
10                                        10                      ALSO PRESENT:
11                                        11
12   Appearing on behalf of the Defendant 12                      Sid Fox,
13   PAUL M. SCHOENHARD                   13                      Videographer
14   MATTHEW RIZZOLO                      14
15   ROPES & GRAY                         15
16   One Metro Center                     16
17   700 12th Street NW                   17
18   Washington, DC 20005                 18
19                                        19
20                                        20
21                                        21
22                                        22
23                                        23
24                                        24
25                                        25
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 1              EXAMINATION INDEX                             1                EXHIBIT INDEX CONTINUED
 2                                                            2   EXHIBIT NO.        DESCRIPTION                   PAGE
 3   EXAMINATION BY                        PAGE               3   Exhibit 8 1-page Google/Motorola Mobility Q1        49
 4   Mr. Schoenhard                  8                        4          Questionnaire to competitors.
 5                                                            5   Exhibit 9 22-page 802.11 Patent License         53
 6                 EXHIBIT INDEX                              6          dated October 21, 2010.
 7                                                            7   Exhibit 10 24-page H.264 Patent License dated      53
 8   EXHIBIT NO.         DESCRIPTION                    PAGE 8           10/29/2010.
 9   Exhibit 1 10-page Defendant Motorola Mobility,       12  9   Exhibit 11 3-page Interoperability: The other   54
10          Inc.'s notice of deposition of                   10          Side of Our Settlement with
11          Microsoft Corporation.                           11          the European Commission document.
12   Exhibit 2 17-page letter re: Patent Standards     27    12   Exhibit 12 4-page Frequently Asked Questions       55
13          Workshop, Project No. P11-1204,                  13          about Interoperability document.
14          dated June 14, 2011.                             14   Exhibit 13 3-page Microsoft Open Specifications     56
15   Exhibit 3 1-page Microsoft's Support for         40     15          document.
16          Industry Standards document.                     16   Exhibit 14 14-page Patent Covenant Agreement,        58
17   Exhibit 4 2-page e-mail string re:            42        17          Microsoft Exchange Outlook Protocol.
18          Microsoft statement.                             18   Exhibit 15 21-page Patent Covenant Agreement,        60
19   Exhibit 5 3-page Microsoft's Support for         45     19          Microsoft Sharepoint Protocols.
20          Industry Standards document.                     20   Exhibit 16 27-page Patent Covenant Agreement,        61
21   Exhibit 6 1-page e-mail string re: We just       46     21          Windows Client PC Operating System
22          posted a blog.                                   22          (Including .net framework) protocols.
23   Exhibit 7 2-page e-mail string re: Google        47     23   Exhibit 17 11-page Patent License Microsoft      62
24          Pushing FTC letter now with CNET.                24          Exchange Server 2010 Protocols.
25                                                           25


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 1                EXHIBIT INDEX CONTINUED                    1                 DAVID A. HEINER
 2                                                           2              DEPOSITION OF DAVID A. HEINER
 3   EXHIBIT NO.        DESCRIPTION                    PAGE 3                Wednesday, March 28, 2012
 4   Exhibit 18 2-page e-mail string re: Industry     63     4                   8:48 a.m.
 5          understanding of FRAND.                          5
 6   Exhibit 19 18-page Google: Please Don't kill      67    6             THE VIDEOGRAPHER: This is the start of videotape
 7          video on the web document.                       7      labeled No. 1 of the videotape deposition of David Heiner in
 8   Exhibit 20 2-page letter from the United        71      8      the matter of Microsoft Corporation verses Motorola Inc.,
 9          States Department of Justice dated               9      et. al, in the United States District Court for the Western
10          3/15/21.                                        10      District of Washington at Seattle, Civil Action
11   Exhibit 21 17-page letter re: Standardization    75    11      No. C10-1823-JLR.
12          Feedback for Sub-Committee on                   12             This deposition is being held at Summit Law Group,
13          Standards dated 3/7/11.                         13      315 5th Avenue South, Suite 1000, Seattle, Washington, 98104
14   Exhibit 22 37-page e-mail and attachment          75   14      on March 28th, 2012, at approximately 8:45 a.m.
15          Re: Proposed consent decree                     15             My name is Sid Fox from TSG Reporting, Inc., and
16          Microsoft's.                                    16      I'm the legal video specialist. The court reporter is Tia
17   Exhibit 23 3-page Microsoft's Proposed           77    17      Reidt in association with TSG Reporting.
18          Consent Decree Principles.                      18             Will counsel please introduce yourselves.
19                                                          19             MR. SCHOENHARD: Good morning. My name is Paul
20                                                          20      Schoenhard. I'm an attorney with Ropes & Gray, LLP. I'm
21                                                          21      here today representing the Motorola entities, the
22                                                          22      defendants.
23                                                          23             With me today are Matt Rizzolo, also with Ropes &
24                                                          24      Gray, and Lynn Engel with the Summit Law Group.
25                                                          25             MR. HARRIGAN: Art Harrigan, Danielson Harrigan,

                                                     Page 8                                                            Page 9
 1                 DAVID A. HEINER                              1                   DAVID A. HEINER
 2   representing Microsoft and the witness.                    2     Q. What are your responsibilities as vice president
 3         THE VIDEOGRAPHER: Will the court reporter please     3   and deputy general counsel?
 4   swear the witness in.                                      4     A. I'm responsible for two organizations within the
 5   DAVID A. HEINER, having been first duly sworn, was         5   Microsoft law department. One is our antitrust group, and
 6   examined and testified as follows:                         6   the other is the corporate standards group.
 7                                                              7     Q. Do I understand correctly, based on your answer,
 8   EXAMINATION                                                8   that the antitrust group and the corporate standards groups
 9   BY MR. SCHOENHARD:                                         9   are treated as two separate groups?
10     Q. Good morning, Mr. Heiner.                            10     A. They're often treated as one group, so it's --
11     A. Good morning.                                        11   there's no real answer. It could be one or two.
12     Q. Please state your full name and home address for     12     Q. But you have general responsibility for both?
13   the record.                                               13     A. I do.
14     A. David A. Heiner, 14314 227th Avenue Northeast,       14     Q. Could you please explain briefly what your
15   Woodinville, Washington, 98077.                           15   standards -- what your responsibilities are with respect to
16     Q. And do you understand that you're testifying under   16   the standards group?
17   oath here today?                                          17     A. Well, I oversee the group. The corporate
18     A. I do.                                                18   standards group is an organization that provides services to
19     Q. Is there any reason you won't be able to provide     19   the rest of Microsoft. Those services include legal advice
20   honest testimony today?                                   20   in connection with participation in standards bodies,
21     A. No.                                                  21   standards policy work, and also includes people who
22     Q. You are currently employed by Microsoft?             22   participate directly in standards-setting organizations, so
23     A. Yes.                                                 23   these are nonlawyers whose job function is to represent
24     Q. What is your current title?                          24   Microsoft at standards bodies.
25     A. Vice president and deputy general counsel.           25         There are other people within Microsoft who are not


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 1                   DAVID A. HEINER                                 1                   DAVID A. HEINER
 2   the second paragraph on Page 12 of Exhibit 2.                   2     Q. Can you explain what you understand the term
 3     A. Okay. (Witness peruses document.)                          3   "field of use restriction" to mean?
 4          Okay.                                                    4     A. I'm sorry. Can you repeat the question?
 5     Q. Is it fair to say that Microsoft believes that             5     Q. Can you explain to me what you understand the term
 6   while there is no exhaustive list of traditional RAND           6   "field of use restriction" to mean.
 7   licensing terms, in addition to a possible compensation         7     A. I understand the term "field of use restriction"
 8   element, such terms may include a field of use restriction,     8   to mean that a particular, say, patent might be licensed for
 9   reciprocity, non sublicensability, defensive suspension, and    9   one use and not another.
10   other common patent licensing considerations?                  10     Q. Can you explain to me what you understand the term
11     A. Yeah. Generally I think that's correct.                   11   "reciprocity" to mean?
12          As I think about one of the earlier questions you       12     A. Let's see. I understand that term to mean that in
13   asked, though, maybe I should clarify one aspect. This is      13   a patent license, there might be a reciprocal grant of
14   my letter to the Federal Trade Commission, and it was my       14   patent rights back to the licensor.
15   view at the time. I am responsible for this function at        15     Q. Would that also be referred to as a grant-back?
16   Microsoft. But to go all the way to say that, you know,        16     A. I think so. I'm not sure if the terms are, you
17   does Microsoft believe X, Y and Z is perhaps a bit of a        17   know, completely synonymous or not, but yes.
18   stretch, since it's a corporate entity and there's not         18     Q. What do you understand the term "defensive
19   necessarily any one belief of such an entity.                  19   suspension" to mean?
20          But having said that, I am responsible for the          20     A. I understand that to refer to the concept where a
21   subject matter generally, and so...                            21   patent holder might grant a patent license to a licensee but
22     Q. And you do agree that Exhibit 2, the June 2011            22   have a provision that says that if the licensee engages in
23   letter, was submitted to the Federal Trade Commission on       23   some specified act such as a lawsuit back against the
24   behalf of Microsoft, the corporate entity?                     24   licensor, then the license grant terminates.
25     A. Yes.                                                      25     Q. And what might other common patent licensing

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 1                  DAVID A. HEINER                                1                     DAVID A. HEINER
 2   considerations include?                                       2       Q. You would typically expect for there to be
 3     A. I don't know offhand.                                    3     business discussions prior to legal action, however,
 4     Q. Would licensing nonessential patents as part of          4     correct?
 5   the same transaction be a common patent licensing             5       A. I don't know about that.
 6   consideration?                                                6       Q. You agree that RAND license terms are typically
 7     A. Can you repeat the question?                             7     arrived at through bilateral negotiation, correct?
 8     Q. Would including as part of license discussion            8       A. Typically, yes.
 9   nonessential patents also be another common patent licensing 9        Q. Are there circumstances in which bilateral
10   consideration?                                               10     negotiation would not be involved?
11     A. Yes. I think that happens.                              11           MR. HARRIGAN: Object to the form of the question.
12     Q. Would considerations of license term and                12           You can answer.
13   termination also be common patent license considerations?    13           THE WITNESS: I think one important aspect of the
14     A. Yes.                                                    14     standards system is that a firm that makes a RAND commitment
15     Q. And each of these considerations would typically        15     when it initiates patent licensing discussions, that it do
16   be fleshed out as part of bilateral negotiations between the 16     so in good faith and that any offer it makes that it
17   perspective licensor and perspective licensee, correct?      17     believes that offer is RAND, recognizing that people may
18     A. Yes.                                                    18     differ on that point.
19     Q. Would you agree that whether terms are reasonable       19           And so if a firm were to come forward and put on
20   can be a matter of some debate?                              20     the table an offer that is manifestly not RAND, that likely
21     A. Yes.                                                    21     would not provide the basis for good-faith negotiations to
22     Q. And whether terms are reasonable can be resolved        22     proceed.
23   through litigation in the relatively rare circumstances      23     BY MR. SCHOENHARD:
24   where business discussions fail, correct?                    24       Q. How might you determine if an offer is manifestly
25     A. I think that's right.                                   25     not RAND?


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 1                   DAVID A. HEINER                              1                   DAVID A. HEINER
 2      A. If it had the characteristics that Microsoft           2   offer patent licences should not preclude a patent holder
 3   identified in an interrogatory response, I think in this     3   from seeking a preliminary injunctive relief or commencing
 4   case but I'm not sure, where we listed a number of aspects   4   an action in the International Trade Commission just because
 5   of what, is in our view, not RAND.                           5   the patent holder has made a licensing commitment to offer
 6      Q. In such a circumstance, you believe that rather        6   RAND-based licenses in connection with the standard?
 7   than going back and saying this doesn't look quite right in  7     A. Yes.
 8   the general standards-setting context, it makes sense to go  8     Q. And would you agree that any uniform declaration
 9   ahead with a legal action?                                   9   that such relief would not be available if the patent holder
10      A. I think that's fair to say.                           10   has made a commitment to offer a RAND license for its
11      Q. Please direct your attention to Page 13 of            11   essential patent claims in connection with the standard may
12   Exhibit 2, the June 2011 letter.                            12   reduce any incentives that implementers might have to engage
13      A. Okay.                                                 13   in good-faith negotiations with the patent holder?
14      Q. Please feel free to read to yourself the first        14     A. Yes. I mean, generally I believe that, and I
15   full paragraph on this page.                                15   think it's a commonplace notion, that anytime there's any
16          MR. HARRIGAN: I'm sorry. I was typing and missed 16       limit whatsoever on the scope of intellectual property
17   it. Where are we reading?                                   17   rights, that logically tends to reduce incentives to attain
18          MR. SCHOENHARD: Page 13, the first full paragraph. 18     those rights.
19          MR. HARRIGAN: Thanks.                                19         And on the other hand, if what's happening is that
20          THE WITNESS: (Witness peruses document.)             20   there's greater sharing of those rights, then in the near
21          Okay.                                                21   term there's the possibility of greater enervation by others
22   BY MR. SCHOENHARD:                                          22   using those rights, and that's kind of a balancing and
23      Q. Is it fair to say that as of June 2011, the time      23   tradeoff that has to be made.
24   this letter was submitted to the Federal Trade Commission,  24     Q. Please direct your attention to Page 8 of
25   you believed that the existence of a RAND commitment to     25   Exhibit 2, the June 2011 letter to the Federal Trade

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 1                 DAVID A. HEINER                               1                    DAVID A. HEINER
 2   Commission.                                                 2          MR. HARRIGAN: When you say "the final paragraph,"
 3     A. (Witness complies.)                                    3    you're talking about the one that starts, "The principal"?
 4     Q. In Footnote 5 on Page 8 of Exhibit 2, do you see       4          MR. SCHOENHARD: Correct.
 5   reference to a Mr. Keith Mallinson, M-A-L-L-I-N-S-O-N?      5          MR. HARRIGAN: Feel free to read the rest of that
 6     A. Yes.                                                   6    footnote.
 7     Q. Who is Mr. Keith Mallinson?                            7          THE WITNESS: (Witness peruses document.)
 8     A. I don't know beyond what is said in the                8          Okay.
 9   parenthetical.                                              9    BY MR. SCHOENHARD:
10     Q. The parenthetical to which you're referring reads,    10      Q. Do you agree with Mr. Mallinson's statement that
11   "A longstanding research analyst and consultant in the     11    there will at times be significant contention between the
12   telecommunications industry"?                              12    patent owner and implementer about what constitutes
13     A. Yes.                                                  13    reasonable licensing terms, but this is to be expected, as
14     Q. Do you believe that statement regarding               14    with commercial negotiation on any input cost component, and
15   Mr. Mallinson to be correct?                               15    has for the most part been readily resolved through
16     A. Let me take a minute and read this. We're talking     16    bilateral negotiations?
17   about the statement that's the second sentence of the      17      A. Yes.
18   footnote, or after the colon?                              18      Q. Would you agree, then, that even in situations
19     Q. I was referring to the statement in the               19    where there may be significant contention between parties as
20   parenthetical referring to who Mr. Mallinson is.           20    to what would ultimately be reasonable terms, bilateral
21     A. Oh. I assume that's correct. I don't know             21    negotiation is an appropriate course?
22   personally.                                                22      A. In general, yes. This particular case I think of
23     Q. Please take a moment to read to yourself the final    23    as an outlier.
24   paragraph of Footnote 5 on Page 8 of Exhibit 2.            24      Q. If a potential implementer of a standard is aware
25     A. Okay. (Witness complies.)                             25    that another entity owns a portfolio of potentially


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 1                   DAVID A. HEINER                                 1                   DAVID A. HEINER
 2   standard-essential patents, do you believe that the             2   he's knocking on someone's door, apparently is seeking
 3   implementer has an obligation to seek a license to those        3   licensing fees and then is obliged to offer a license that
 4   patents?                                                        4   is compliant with RAND.
 5     A. I don't know about that. The current practice in           5     Q. How do you determine if the license that's offered
 6   the industry is often that no such license is sought and so     6   is compliant with RAND?
 7   no such license is put in place, but rather firms simply        7     A. Well, that's a very big question, and people go to
 8   implement standards and rely on the fact that if they needed    8   conferences and have debates about what is RAND and the
 9   a license - in other words, if the patent holder came           9   like, so there's no definitive answer to that.
10   knocking - there's a RAND commitment.                          10     Q. In large part, the parties collectively and
11         And so I think often in the industry, firms simply       11   bilaterally determine what is RAND in their specific
12   implement and don't actually obtain licences from everyone     12   contexts through negotiations, correct?
13   who might have IP that reads on implementation.                13     A. Typically.
14     Q. Does that practice create free-rider issues?              14          MR. SCHOENHARD: I think I've had you on the record
15     A. What do you mean?                                         15   for approximately an hour. Why don't we go ahead and take
16     Q. Doesn't that type of practice encourage                   16   our first break, and then we'll resume in a few moments.
17   implementers to effectively operate in an unlicensed           17          THE VIDEOGRAPHER: The time is approximately
18   capacity with respect to existing IP rights in the hopes       18   9:35 a.m. We are off the record.
19   that never shall a license need to be paid?                    19          (Pause in the proceedings.)
20     A. I don't know. I'm just commenting on what I think         20          THE VIDEOGRAPHER: We are back on the record. The
21   happens in the industry.                                       21   time is approximately 9:54 a.m.
22     Q. When a patent holder comes knocking on the                22   BY MR. SCHOENHARD:
23   implementer's door, what do you believe to be the common       23     Q. Mr. Heiner, do you understand that you've been
24   practice?                                                      24   designated to testify today additionally with respect to
25     A. The common practice is that the patent holder, if         25   Topic 36 in Motorola's Notice of Deposition --

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 1                   DAVID A. HEINER                              1                     DAVID A. HEINER
 2     A. Yes.                                                    2      Microsoft will not seek an injunction or exclusion order
 3     Q. -- relating to a February 8th, 2012 statement,          3      against any firm on the basis of those essential patents,"
 4   "Microsoft Support for Industry Standards"?                  4      correct?
 5     A. Yes.                                                    5        A. Correct.
 6     Q. Do you believe that you are prepared today to           6        Q. As of today, is that Microsoft's official
 7   speak with respect to that topic?                            7      position?
 8     A. Yes.                                                    8        A. Yes.
 9         (Whereupon, a 1-page Microsoft's Support for           9        Q. As of today, is it Microsoft's position that it is
10   Industry Standards document was marked Exhibit 3 for        10      inappropriate for standards-essential patent holders to seek
11   identification.)                                            11      injunctive-style relief?
12         THE COURT REPORTER: Exhibit 3.                        12        A. Yes.
13   BY MR. SCHOENHARD:                                          13        Q. That position is directly contrary to the position
14     Q. Mr. Heiner, you have been handed a document that       14      taken at Page 13 of the June 2011 Federal Trade Commission
15   has been marked as Heiner Exhibit 3, bearing Production No. 15      letter we discussed a moment ago, correct?
16   MS-MOTO_1823_00005196256.                                   16        A. Our position changed from June 14th to more
17          Please take a moment to review this document and     17      recently, yes.
18   tell me whether you recognize it.                           18        Q. Why did Microsoft's position change?
19     A. Yes, I recognize this document.                        19        A. Based on experience since then, based on thinking
20     Q. What is this document, Heiner Exhibit 3?               20      about the subject more deeply, and based on discussions with
21     A. This document is a printout of a web page where        21      the US Department of Justice.
22   Microsoft made a statement regarding its support for        22        Q. When you say "based or our experience since then,"
23   industry standards.                                         23      are you referring to your experience as, for example, a
24     Q. As part of this February 8th, 2012 statement,          24      defendant against the Motorola entities?
25   Microsoft stated, under the No. 2, "This means that         25        A. Yes.


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                                                    Page 54                                                            Page 55
 1                  DAVID A. HEINER                               1                   DAVID A. HEINER
 2     Q. Do you recall whether you have seen these               2   the European Commission regarding interoperability.
 3   documents before?                                            3     Q. What is interoperability?
 4     A. I don't think I have. I'm not certain.                  4     A. That's another one of those $64,000 questions.
 5     Q. You can set them aside.                                 5   But generally it's the ability of two products to -- at
 6     A. Okay.                                                   6   least in the computer context, two products to exchange
 7         (Whereupon, a 3-page Interoperability: The other       7   information and interact with one another.
 8   Side of Our Settlement with the European Commission document 8     Q. And in connection with the European Commission's
 9   was marked Exhibit 11 for identification.)                   9   investigation, were there concerns about the availability of
10         THE COURT REPORTER: Exhibit 11.                       10   interoperability with Microsoft products?
11   BY MR. SCHOENHARD:                                          11     A. Yes.
12     Q. Mr. Heiner, you've been handed a document that has     12     Q. As part of this and other investigations,
13   been marked as Heiner Exhibit 11.                           13   Microsoft created a set of principles regarding
14          Please take a moment to review this document and     14   interoperability that it intends to follow, correct? Do you
15   tell me whether you recognize it.                           15   have any responsibility for the principles of
16     A. (Witness peruses document.)                            16   interoperability at Microsoft?
17         Okay.                                                 17     A. Yes.
18     Q. Do you recognize this document?                        18     Q. What is that responsibility?
19     A. Yes.                                                   19     A. The responsibility is counseling clients with
20     Q. What is Heiner Exhibit 11?                             20   respect to living up to those principles.
21     A. It appears to be a printout of a blog post that I      21     Q. And when you say "counseling clients," you're
22   did apparently on December 18th of 2009.                    22   referring to clients within Microsoft, correct?
23     Q. To what does the blog post marked as Heiner            23     A. Yes.
24   Exhibit 11 relate?                                          24          (Whereupon, a 4-page Frequently Asked Questions
25     A. It relates to a settlement of inquiries made by        25   about Interoperability document was marked Exhibit 12 for
                                                    Page 56                                                            Page 57
 1                  DAVID A. HEINER                              1                   DAVID A. HEINER
 2   identification.)                                            2      A. Yes.
 3         THE COURT REPORTER: Exhibit 12.                       3      Q. One of the interoperability principles is
 4   BY MR. SCHOENHARD:                                          4    identified with the numeral 4 at the bottom of the page
 5     Q. Mr. Heiner, you've been handed a document that has     5    carrying over to the second page of the bottom, "RAND Patent
 6   been marked as Heiner Exhibit 12, bearing Production Nos.   6    Terms."
 7   MOTOM_WASH1823_0394353 through 356. Please take a moment to 7           Do you see that?
 8   review this document and tell me whether you recognize it.  8      A. Yes.
 9     A. (Witness peruses document.)                            9      Q. As one of Microsoft's interoperability principles,
10         I see it appears to be a printout of a Microsoft     10    Microsoft has committed to provide licenses to certain of
11   website relating to the interoperability principles we     11    its patents covering Microsoft open protocols on reasonable
12   announced. I don't specifically recall the document.       12    and nondiscriminatory terms, correct?
13         (Whereupon, a 3-page Microsoft Open Specifications   13      A. Yes.
14   document was marked Exhibit 13 for identification.)        14      Q. Is the term "RAND" with respect to reasonable and
15   BY MR. SCHOENHARD:                                         15    nondiscriminatory licensing terms, as used in the context of
16     Q. Mr. Heiner, you've been handed a document marked      16    Microsoft's interoperability principles, substantially the
17   as Heiner Exhibit 13 which bears Production Nos.           17    same, in your view, as RAND is understood in these standards
18   MOTM_WASH1823_0394414 through 416.                         18    context?
19          Please take a moment to review this document and    19      A. I'm not sure about that. You know, here we're
20   tell me whether you recognize it.                          20    talking about making available proprietary technologies.
21     A. Yes. I recognize this document to be a printout       21    And in the standard-setting context, you know, we're talking
22   from the Microsoft website of the interoperability         22    about firms coming together to contribute technology which
23   principles that Microsoft articulated.                     23    may come from many different places into one standard and
24     Q. Are you familiar with the set of interoperability     24    then that standard being one of many that gets implemented
25   principles reflected in Exhibit 13?                        25    in products.


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 1                  DAVID A. HEINER                              1               DAVID A. HEINER
 2   BY MR. SCHOENHARD:                                          2        MR. HARRIGAN: Yeah.
 3      Q. Mr. Heiner, are you aware of any time prior to the    3        THE COURT REPORTER: Thank you.
 4   fall of 2011 at which Microsoft took the position that      4        (Whereupon, the deposition was concluded at
 5   injunctive relief should not be available to standard-      5   11:59 a.m.)
 6   essential patent holders?                                   6
 7          MR. HARRIGAN: Object to the form of the question.    7         (Signature waived.)
 8          THE WITNESS: No.                                     8
 9          MR. SCHOENHARD: Mr. Heiner, I don't believe I have   9
10   anything further. I thank you very much for your time this 10
11   morning.                                                   11
12          THE WITNESS: Okay. Thank you.                       12
13          THE COURT REPORTER: Any questions?                  13
14          MR. HARRIGAN: Nope.                                 14
15          THE VIDEOGRAPHER: Here marks the end of videotape 15
16   labeled No. 2 in the deposition of David Heiner.           16
17          The time is approximately 11:56 a.m. We are off     17
18   the record.                                                18
19          THE COURT REPORTER: And before I go off the         19
20   record, would you like the standing order?                 20
21          MR. SCHOENHARD: Please.                             21
22          THE COURT REPORTER: And would you like a copy, 22
23   standing order?                                            23
24   //                                                         24
25   CONTINUED ON THE NEXT PAGE TO INCLUDE JURAT. 25

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 1               CERTIFICATE                                    1                CORRECTION SHEET
 2                                                              2    Deposition of: David Heiner         Date: 03/28/12
 3       I, Tia B. Reidt, do hereby certify that                3    Regarding: Microsoft Vs. Motorola
 4   pursuant to the Rules of Civil Procedure, the witness      4    Reporter:     Tia Reidt
 5   named herein appeared before me at the time and place      5    __________________________________________________
 6   set forth in the caption herein; that at the said time     6    Please make all corrections, changes or clarifications
 7   and place, I reported in stenotype all testimony           7    to your testimony on this sheet, showing page and line
 8   adduced and other oral proceedings had in the              8    number. If there are no changes, write "none" across
 9   foregoing matter; and that the foregoing transcript        9    the page. Sign this sheet on the line provided.
10   pages constitute a full, true and correct record of       10    Page Line Reason for Change
11   such testimony adduced and oral proceeding had and        11    _____ _____ ________________________________________
12   of the whole thereof.                                     12    _____ _____ ________________________________________
13
                                                               13    _____ _____ ________________________________________
14      IN WITNESS HEREOF, I have hereunto set my hand
                                                               14    _____ _____ ________________________________________
15   this 9th day of April, 2012.
                                                               15    _____ _____ ________________________________________
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18                                                             17    _____ _____ ________________________________________
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20     Tia B. Reidt                                            20    _____ _____ ________________________________________
21                                                             21    _____ _____ ________________________________________
22   Commission Expiration: June 3, 2014                       22    _____ _____ ________________________________________
23                                                             23    _____ _____ ________________________________________
24                                                             24                Signature___________________________
25                                                             25                     David Heiner



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